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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                 HARRISON DIVISION


 UNITED STATES OF AMERICA                                                           PLAINTIFF

 v.                                 Case No. 3:21-cr-30007-001

 STANLEY ZED FADDEN                                                              DEFENDANT


                                           ORDER


       At the arraignment and plea conducted on the Indictment, the Defendant agreed to waive

the issue of detention pending the final disposition of the case; accordingly, the Court considers

the matter waived. The Defendant is detained, subject to reconsideration on motion of Defendant.

       Dated: May 12, 2021


                                             /s/ Mark E. Ford
                                             HONORABLE MARK E. FORD
                                             UNITED STATES MAGISTRATE JUDGE
